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FOR THE NORTHERN DISTRICT OF CALIFORNIA
AND THE EASTERN DISTRICT OF CALIFORNIA ©
UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES

PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

RALPH COLEMAN, et al., No. 2:90-cv-00520 LKK JFM P
Plaintiffs, _ THREE-JUDGE COURT

V.
ARNOLD SCHWARZENEGGER, et al.,

Defendants.

No. C01-1351 TEH
THREE-JUDGE COURT
Plaintiffs,
DEFENDANTS’ OPPOSITION TO
V. PLAINTIFFS’ EX PARTE APPLICATION
FOR ORDER SHORTENING TIME

TO: MAGISTRATE JUDGE MOULDS

MARCIANO PLATA, et al.,

ARNOLD SCHWARZENEGGER, et al.,

Defendants

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DEFENDANTS’ OPPOSITION TO MOTION TO SHORTEN TIME 1573701.1

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l. INTRODUCTION

Applications to shorten time should not be granted unless counsel shows a
“satisfactory explanation for the need for the issuance of such an order.” E.D. Local
Rule 6-144(e). Plaintiffs cannot make this showing here, because Defendants have
continued to meet and confer with Plaintiffs in good faith about this issue, and are still
considering a proposal that Plaintiffs’ counsel made yesterday. Because the parties may
soon resolve this issue without the involvement of the court, there is no “need” to hear —
Plaintiffs’ motion on shortened time.

Plaintiffs assert that that Defendants are “unjustly hindering” the discovery
process. (Plaintiffs’ Ex Parte Application for Order Shortening Time, 1:12.) On the
contrary, Defendants have been cooperative and responsive throughout the meet and
confer process on this issue, as indicated below. It is Plaintiffs who have acted
unreasonably, by refusing to allow Defendants even one day to consider their most
recent proposal before filing this application. Thus, the meet and confer process is still
ongoing, and there is no “need” for Plaintiffs’ requested order shortening time. The court
should therefore deny the application.

li. FACTUAL BACKGROUND

This dispute concerns the ongoing meet and confer process between Plata
. Plaintiffs and Defendants regarding three document production requests contained in
Plata Plaintiffs' Third Set of Requests for Production of Documents to Defendants. On
Thursday July 24, 2008, Defendants timely served their responses to those requests.
(See Decl. of Renju P. Jacob in Support of Defendants’ Opposition to Plaintiffs’ Ex Parte
Application for an Order Shortening Time, Ex. A.) Defendants also sent Plaintiffs a
courtesy copy of those responses via email on Friday, July 25, 2008. (See Jacob Decl.,
Ex. B.)
At 9:23 AM the morning of July 28, 2008, Plaintiffs’ counsel called Defendants’
counsel to ask to meet and confer that day regarding Defendants’ responses to

Requests 40 through 43 in Plaintiffs’ Third Set of Requests for Production. (Jacob Decl.
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DEFENDANTS’ OPPOSITION TO MOTION TO SHORTEN TIME 1573701.1

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113.) Less than an hour and a half later, at 10:51 AM, Plaintiffs’ counsel sent an email to
Defendants’ counsel repeating this request. (See Rebekah Evenson Decl. in Support of
Plaintiff's Motion to Compel Discovery Responses, Exh. E; Jacob Decl. {] 4.)
Defendants’ counsel complied with the request, calling Plaintiffs’ counsel on the
afternoon of July 28 to discuss Plaintiffs’ concerns. (Jacob Decl. q 4.)

During this July 28 conference, Defendants’ counsel reiterated their objections to
Plaintiffs’ requests. (Jacob Decl. 5.) They further explained that they had explored the
feasibility of providing responsive documents, and had learned that the information
Plaintiffs were requesting was not readily available in Defendants’ computer systems,
and that it would be very difficult, if not impossible, to create new documents containing
the data Plaintiffs’ sought. ((/d.)) When Plaintiffs’ counsel asked Defendants whether
some portion of the requested data might be more readily available, Defendants agreed
to check whether this might be the case. (/d.)

At about 10:00 AM on July 29, 2008, Defendants’ counsel consulted with
Defendant CDCR regarding the feasibility of retrieving some portion of the data Plaintiffs
sought. (Jacob Decl. 46.) They called Plaintiffs’ counsel in the early afternoon of July
29, and explained that they could not comply with Plaintiffs’ request to produce some
portion of the data, because some of the information was unavailable, while the
remainder would be extremely burdensome to produce. (Jacob Decl. ] 7.) They also
reiterated their legal objections to Plaintiffs’ request. (/d.) Defendants’ counsel offered
to meet and confer again on Thursday, July 31, 2008 in order to explain to Plaintiffs’
counsel why Plaintiffs’ request was burdensome. (Jacob Decl. {| 8.) Defendants hoped
that the explanation would convince Plaintiffs’ counsel that Defendants could not
reasonably comply with Plaintiffs’ request and would thereby encourage resolution of this
dispute. (/d.)

Counsel again met and conferred on July 31, 2008 at 11:00 AM. (Jacob Decl. §]
9.) During that conversation, Defendants provided further detail regarding the

infeasibility of producing the data Plaintiffs sought. (/d.) Plaintiffs’ counsel then made an
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alternative proposal, which if accepted by Defendants would resolve this dispute. (/d.)
She demanded a response to that proposal by 3:00 PM on July 31. (Jacob Decl. {] 10.)
Defendants’ counsel promptly communicated Plaintiffs proposal to Defendants on
July 31. (Jacob Decl. | 9.) But Defendants’ counsel indicated to Plaintiffs’ counsel in
phone conversations on the afternoon of July 31 that their clients required more than just
a few hours to consider Plaintiffs’ proposal, and requested to be permitted until August 1
to do so. (Jacob Decl. J 10.) Plaintiffs’ counsel denied the request. (/d.) She stated,
however, that if Defendants ultimately agreed to her most recent proposal, she would
take the motion to compel off calendar. (/d.) Plaintiffs then filed their motion to compel
and application for shortening time later in the afternoon of July 31. As of this filing on
August 1, Defendants are still considering Plaintiffs’ most recent proposal to resolve this
issue. (Jacob Decl. J 11.)
ill, ARGUMENT

This motion for shortening time is unnecessary and premature. Under Eastern
District Local Rule 6-144(e), before this application may be granted, Plaintiffs must
satisfactorily demonstrate their “need” for an order shortening time and “justify” the order.
They cannot do so here, because the meet and confer process is still ongoing with
regards to this issue.

As the foregoing facts indicate, Plaintiffs made a proposal to settle this dispute on
July 31, and that proposal is still outstanding. Defendants’ counsel communicated that
proposal to their clients, who are still considering it. Meet and confer efforts are
therefore still ongoing, and this dispute may be resolved without the need for intervention
by the court. As a result, there may soon be nothing for the court to decide on this issue.
There is no clear impasse, and hence no compelling need for Plaintiffs to be heard
sooner.

Plaintiffs’ counsel’s impatience does not justify an order shortening time. Plaintiffs
have not allowed Defendants a reasonable period of time to consider their most recent

proposal before filing this application. Defendants requested a single day to consider
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that proposal, but Plaintiffs’ counsel denied the request. Defendants understand —
Plaintiffs’ desire to resolve this issue quickly. But they have been cooperating with
Plaintiffs in a good faith attempt to do so. Thus far, Defendants: (1) timely responded to
Plaintiffs’ initial document production requests; (2) complied with Plaintiffs’ request to
meet and confer on short notice on July 28; (3) offered to meet and confer again on July
31 to provide additional support for their position, and in fact did so; and (4) are currently
considering Plaintiffs’ counterproposal. Defendants have not delayed this process, and
the process is not over. Rather, there is a chance that the parties can reach agreement
soon without the assistance of the court. This court should set a normal hearing
schedule on Plaintiffs’ motion to compel and allow time for the meet and confer process
to work.

Moreover, a shortened hearing schedule would unfairly burden Defendants by

“requiring Defendants’ counsel to prepare for a hearing on this issue instead of working

with their clients and Plaintiffs’ counsel to reach a mutually agreeable solution to the
dispute. Defendants must already prepare for two other motions set to be heard on
August 7, 2008, and are in the midst of producing thousands of documents in response
to Plaintiffs’ document requests, in addition to other written discovery.

IV. CONCLUSION

This application is an improper attempt to short-circuit the meet and confer
process. This court should deny Plaintiffs’ application for an order shortening time and

allow that process to go forward.

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DATED: August_ 1 _, 2008 HANSON BRIDGETT LLP

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DATED: August. 1 _, 2008 EDMUND G. BROWN JR.

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